           Case 8:19-bk-07720-MGW      Doc 505    Filed 09/29/21   Page 1 of 32

                                     ORDERED.



 Dated: September 29, 2021




                     UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION
                             www.flmb.uscourts.gov

In re:                                                 Case No. 8:19-bk-07720-MGW
                                                       Chapter 11
Friends of Citrus and the
Nature Coast, Inc.,

      Debtor.
___________________________________/

             FINDINGS OF FACT AND CONCLUSIONS OF LAW
         ON DEBTOR’S CLAIM OBJECTION AND TURNOVER MOTION

         When the Debtor sold its hospice operations to Vitas Healthcare Corporation,

it represented and warranted that it was in compliance with all relevant state and

federal laws and regulations. Those regulations required the Debtor to (among other

things) have in place emergency preparedness plans that provide for, in case of an

emergency, an alternate source of energy to maintain safe temperatures in resident-

occupied areas.

         Vitas claims the Debtor’s representation and warranty is false because the

existing 80kW generator at the Debtor’s in-patient hospice facility—the sole source
           Case 8:19-bk-07720-MGW              Doc 505       Filed 09/29/21      Page 2 of 32




of back-up power—was not big enough to run the facility’s HVAC system if the

power went out. So Vitas has filed a proof of claim in this case seeking

indemnification for the cost of a new 350kW generator. Because the Debtor was not

required to have a generator to comply with state or federal laws, Vitas is not entitled

to indemnification, and the Debtor’s objection to Vitas’ proof of claim should be

sustained and its motion for return of funds escrowed to secure the Debtor’s

indemnification obligations should be granted.

I.      Findings of Fact

        Four years ago, twelve residents at The Rehabilitation Center at Hollywood

Hills died in the aftermath of Hurricane Irma when the skilled nursing facility’s air

conditioning system failed during a power outage. 1 To keep a similar tragedy from

occurring again, the State of Florida promulgated rules effectively requiring all

nursing homes and assisted living facilities to have generators to maintain cool

temperatures during a power outage.2

        A.      The Debtor operated an in-patient hospice facility.

        The Debtor is a charitable not-for-profit organization that was created nearly

forty years ago to provide residents of Citrus County options for receiving end-of-life


1
 Trial Tr. Vol. I, Doc. No. 397, p. 63, l. 22 – p. 64, l. 6; p. 95, ll. 9 – 12; Trial Tr. Vol. IV, Doc. No.
387, p. 88, l. 17 – p. 89, l. 15.
2
 Trial Tr. Vol. I, Doc. No. 397, p. 52, l. 24 – p. 53, l. 12; p. 95, ll. 13 – 25; Trial Tr. Vol. IV, Doc.
No. 387, p. 88, l. 17 – p. 89, l. 15. To be more precise, as discussed in greater detail below, the
administrative rules require assisted living facilities and nursing homes to have a sufficient alternate
power source such as a generator to maintain safe indoor air temperatures (not to exceed eighty-one
degrees Fahrenheit) in resident-occupied areas.


                                                     2
             Case 8:19-bk-07720-MGW              Doc 505       Filed 09/29/21     Page 3 of 32




hospice care. 3 For the first two decades or so, the Debtor’s hospice care was

exclusively home-based. 4 Eventually, though, the Debtor realized it needed to have

its own facility where it could provide symptom control and pain management to

patients who could not have their symptoms or pain managed at home. 5 So, in 2005,

the Debtor constructed a 10,078-square-foot, sixteen-bed in-patient hospice facility in

Lecanto, Florida, known as Hospice House.6

          B.       In-patient hospice facilities are different than assisted living
                   facilities and nursing homes.

          Individuals live at assisted living facilities and nursing homes. 7 An assisted

living facility or nursing home, in effect, becomes the individual’s primary

residence. 8 An in-patient hospice facility, by contrast, is typically used for short-term

symptom management. 9

          Unlike assisted living facility or nursing home residents, patients do not live at

in-patient hospice facilities. With some exceptions, Medicare and Medicaid limit in-


3
 Trial Tr. Vol. IV, Doc. No. 387, p. 12, l. 10 – p. 13, l. 19. Later, the Debtor expanded its services to
cover a twelve-county region. Trial Tr. Vol. IV, Doc. No. 387, p. 12, ll. 14 – 19.
4
    Trial Tr. Vol. IV, Doc. No. 387, p. 12, l. 20 – p. 13, l. 10.
5
    Trial Tr. Vol. IV, Doc. No. 387, p. 13, l. 20 – p. 14, l. 11.
6
    Trial Tr. Vol. I, Doc. No. 397, p. 125, ll. 5 – 14; p. 126, ll. 6 – 15; Debtor’s Ex. 87, Doc. No. 336-5.
7
  Trial Tr. Vol. III, Doc. No. 386, p. 103, l. 20 – p. 104, l. 9; Trial Tr. Vol. IV, Doc. No. 387, p. 96,
ll. 10 – 24.
8
  Trial Tr. Vol. III, Doc. No. 386, p. 103, l. 20 – p. 104, l. 9; Trial Tr. Vol. IV, Doc. No. 387, p. 96,
ll. 10 – 24.
9
 Trial Tr. Vol. III, Doc. No. 386, p. 103, l. 20 – p. 104, l. 9; Trial Tr. Vol. IV, Doc. No. 387, p. 93, l.
8 – p. 94, l. 17.


                                                       3
              Case 8:19-bk-07720-MGW               Doc 505       Filed 09/29/21          Page 4 of 32




patient hospice stays (or at least payment for them) to five days. 10 The average length

of stay at Hospice House was 5.3 days. 11

           C.      In-patient hospice facilities are required to have an emergency
                   preparedness plan that provides for an alternate source of
                   energy to maintain safe temperatures.

           The Florida administrative rule governing hospices requires hospices to

maintain a comprehensive emergency management plan that ensures hospice

patients are prepared for potential or imminent emergencies and disasters. 12 The

federal regulation governing the conditions for participation in Medicare requires

hospices to implement emergency preparedness policies and procedures that address

(among other things) alternate sources of energy to maintain temperatures to protect

patient health and safety. 13

           D.      Hospice House had a generator that provided back-up power to
                   the facility.

           When Hospice House was built in 2005, the project included an 80kW natural

gas generator. 14 The generator sat on a concrete pad in a fenced in area on the


10
     Trial Tr. Vol. IV, Doc. No. 387, p. 95, l. 21 – p. 96, l. 9.
11
     Trial Tr. Vol. III, Doc. No. 386, p. 11, l. 23 – p. 12, l. 9; p. 61, ll. 18 – 21.
12
  § 400.610(1)(b), Fla. Stat. (requiring hospices to ‘“[p]repare and maintain a comprehensive
emergency management plan that provides for continuing hospice services in the event of an
emergency that is consistent with local special needs plans’”); Fla. Admin. Code R. 59A-38.018
(requiring hospices to ‘“prepare and maintain a comprehensive emergency management plan’” that
describes ‘“[p]rocedures to ensure preparation of hospice patients for potential or imminent
emergencies and disasters’”).
13
     42 C.F.R. § 418.113(b)(6)(iii)(B)(1).
14
     Trial Tr. Vol. IV, Doc. No. 387, p. 30, l. 25 – p. 31, l. 4; Debtor’s Ex. 87, Doc. No. 336-5, § 2.4.


                                                         4
              Case 8:19-bk-07720-MGW                Doc 505       Filed 09/29/21        Page 5 of 32




Debtor’s property. 15 It provided back-up power for emergency lighting, as well as

food refrigeration and anything related to food service. 16 It also electrified the “red

receptacles” in patient rooms, 17 which meant the generator was capable of running

electricity to the sixteen patient rooms.18 If there was a power outage, the generator

would start up automatically. 19

           E.       Although the Debtor had a generator, its plan to maintain safe
                    temperatures in case of an emergency was to relocate its
                    patients.

           The generator was not hooked up to Hospice House’s heating, ventilation, and

air conditioning (HVAC) system because it was too small. 20 With the building load

(anything that consumes electricity) already connected to the generator, adding the

HVAC system would be too much for the generator to handle. 21 If the HVAC system

were added, a circuit breaker on the generator would more than likely open, shutting

down power to the facility. 22



15
     Debtor’s Ex. 87, Doc. No. 336-5, at § 2.4, p. 3; Trial Tr. Vol. II, Doc. No. 385, p. 166, ll. 18 – 23.
16
     Trial Tr. Vol. IV, Doc. No. 387, p. 42, ll. 2 – 12.
17
  Trial Tr. Vol. I, Doc. No. 397, p. 139, ll. 6 – 13; Trial Tr. Vol. II, Doc. No. 385, p. 50, ll. 2 – 8.
‘“Red receptacles’” are electrical outlets that are typically connected to a generator and ‘“live on
generator power.’” Trial Tr. Vol. I, Doc. No. 397, p. 37, l. 25 – p. 38, l. 2; p. 54, ll. 9 – 18.
18
     Trial Tr. Vol. IV, Doc. No. 387, p. 42, ll. 2 – 12.
19
     Trial Tr. Vol. I, Doc. No. 397, p. 40, ll. 17 – 19; p. 139, ll. 11 – 13.
20
     Trial Tr. Vol. I, Doc. No. 397, p. 32, l. 18 – p. 33, l. 8; p. 36, l. 23 – p. 37, l. 1; p. 129, ll. 3 – 24.
21
     Trial Tr. Vol. I, Doc. No. 397, p. 33, l. 24 – p. 34, l. 12; p. 35, ll. 6 – 18; p. 48, l. 16 – p. 49, l. 11.
22
     Trial Tr. Vol. I, Doc. No. 397, p. 35, ll. 6 – 18.


                                                          5
              Case 8:19-bk-07720-MGW               Doc 505       Filed 09/29/21       Page 6 of 32




           Even though it was not connected to Hospice House’s HVAC system, the

generator did provide some ability to maintain safe temperatures at Hospice House.

The generator could power four 5,000-BTU window air conditioning units that could

be plugged into the “red receptacles” to help cool four patient rooms if the power

went out. 23 And, while the generator was not hooked up to Hospice House’s HVAC

system, it was hooked up to the blower system inside Hospice House, 24 which meant

the blower system could move air (including air cooled by the window air

conditioning units) through the building. 25 Even so, the Debtor was not relying on

the generator as its “alternate source of energy” for maintaining safe temperatures in

the facility. 26




23
  Trial Tr. Vol. I, Doc. No. 397, p. 126, l. 21 – p. 128, l. 7; p. 132, l. 19 – p. 134, l. 7; p. 145, ll. 1 –
17. The Debtor bought fourteen or sixteen window units in July 2016. Trial Tr. Vol. I, Doc. No.
397, p. 126, l. 21 – p. 128, l. 7. At the time, the Debtor was having trouble with its air conditioning
unit and needed to replace a fan motor. Trial Tr. Vol. II, Doc. No. 385, p. 159, ll. 7 – 12. Even
though the fan motor replacement was only supposed to take a couple hours, Bonnie Saylor, the
Debtor’s CEO, was concerned that the air conditioning unit could be down for more than a couple
of hours in the middle of summer in Florida. Trial Tr. Vol. II, Doc. No. 385, p. 159, l. 7 – p. 160, l.
2. So Ms. Saylor decided to buy the window units and have them installed. Trial Tr. Vol. II, Doc.
No. 385, p. 159, l. 7 – p. 160, l. 2. After the fan motor was replaced, the Debtor left the window units
in for a few months before Saylor decided to have them removed and put them in storage because
they looked unsightly. Trial Tr. Vol. II, Doc. No. 385, p. 159, l. 7 – p. 160, l. 2. Eventually, all but
three or four units were sold at a thrift store the Debtor operated. Trial Tr. Vol. II, Doc. No. 385, p.
160, ll. 7 – 21.
24
     Trial Tr. Vol. I, Doc. No. 397, p. 129, l. 14 – p. 130, l. 14; p. 146, ll. 8 – p. 147, l. 11.
25
     Trial Tr. Vol. I, Doc. No. 397, p. 147, ll. 4 – 7.
26
  Trial Tr. Vol. I, Doc. No. 397, p. 167, l. 25 – p. 168, l. 3; Trial Tr. Vol. III, Doc. No. 386, p. 9, ll. 2
– 25.


                                                          6
             Case 8:19-bk-07720-MGW               Doc 505      Filed 09/29/21       Page 7 of 32




           Instead, in case of an emergency, such as a hurricane, the Debtor’s plan was to

relocate its patients.27 The Debtor had a contract with every skilled nursing facility in

Citrus County, including one that was just a mile up the road, as well as with Citrus

Memorial Hospital, which had a hospice facility and “scatter beds” throughout the

hospital. 28 The Debtor also had contracts with several transportation companies that

were certified to transport medical patients. 29 This plan was memorialized in the

Debtor’s Comprehensive Emergency Management Plan. 30

           F.      The Debtor’s emergency plan was never cited by AHCA.

           Each year, Florida’s Agency for Healthcare Administration (“AHCA”), which

administers Medicaid in Florida and licenses and regulates Florida healthcare

facilities, inspected Hospice House.31 Hospice House passed all its annual site and

safety inspections.32 AHCA never cited the Debtor for its window air conditioning




27
  Trial Tr. Vol. I, Doc. No. 397, p. 167, l. 25 – p. 168, l. 3; Trial Tr. Vol. III, Doc. No. 386, p. 9, ll. 2
– 25.
28
  Trial Tr. Vol. II, Doc. No. 385, p. 167, l. 25 – p. 170, l. 4; Trial Tr. Vol. III, Doc. No. 386, p. 12, l.
22 – p. 13, l. 13.
29
     Trial Tr. Vol. II, Doc. No. 385, p. 170, ll. 5 – 19.
30
     Debtor’s Ex. 32, Doc. No. 325-7.
31
     Trial Tr. Vol. I, Doc. No. 397, p. 142, ll. 5 – 9.
32
     Trial Tr. Vol. I, Doc. No. 397, p. 142, ll. 5 – 9; Trial Tr. Vol. IV, Doc. No. 387, p. 43, ll. 2 – 9.


                                                          7
             Case 8:19-bk-07720-MGW               Doc 505      Filed 09/29/21   Page 8 of 32




units, 33 nor was the Debtor ever cited for the method or sufficiency of its alternative

source of energy. 34

           G.      The Debtor’s emergency plan worked.

           In 2016, Hurricane Hermine threatened the west coast of Florida. 35 So the

Debtor started evaluating patients to make sure they had an alternate location for

care if evacuation was necessary. 36 In anticipation of Hurricane Hermine, the Debtor

relocated its patients (and staff) to a long-term care facility on the other side of Citrus

County—far away from the coastline—and to one of its own units located in a

hospital. 37

           The following year, Hospice House was threatened by Hurricane Irma—the

same storm that led to the tragic death of a dozen residents at Hollywood Hills. 38

With roughly a week’s warning, the Debtor worked with its patients to find out what

their plans were. 39 Most went home to their families, while some patients were

relocated to a skilled care facility. 40 But the Debtor took on four patients from its



33
     Trial Tr. Vol. I, Doc. No. 397, p. 142, ll. 5 – 9.
34
     Trial Tr. Vol. I, Doc. No. 397, p. 142, ll. 5 – 9.
35
     Trial Tr. Vol. IV, Doc. No. 387, p. 43, ll. 10 – 13.
36
     Trial Tr. Vol. IV, Doc. No. 387, p. 43, ll. 10 – 20.
37
     Trial Tr. Vol. IV, Doc. No. 387, p. 43, l. 17 – p. 44, l. 15.
38
     Trial Tr. Vol. IV, Doc. No. 387, p. 45, ll. 14 – 15.
39
     Trial Tr. Vol. IV, Doc. No. 387, p. 45, l. 14 – p. 46, l. 5.
40
     Trial Tr. Vol. IV, Doc. No. 387, p. 45, l. 14 – p. 46, l. 5.


                                                          8
             Case 8:19-bk-07720-MGW               Doc 505      Filed 09/29/21   Page 9 of 32




home-based care who were forced to evacuate from their homes and agreed to stay at

Hospice House.41

           The Debtor placed the four patients in rooms with wall air conditioning

units. 42 Over the weekend, the power went out. 43 When it did, the 80kW generator

automatically turned on and powered the wall air conditioning units, which were

plugged into the red receptacles. 44 The Debtor used the blower system on the HVAC

system, as well as a few floor fans, to circulate the cool air from the wall air

conditioning units throughout the building. 45

           After the storm passed, AHCA inspected Hospice House to see how it

operated without power during the storm. 46 AHCA officials asked to interview any

patients, families, volunteers, or staff who were at Hospice House during the power

outage to see how the Debtor handled the emergency. 47 In all, AHCA spoke with

two patients, two families, and several staff members and volunteers. 48 As AHCA

left the inspection, after speaking with patients, families, volunteers, and staff, it



41
     Trial Tr. Vol. IV, Doc. No. 387, p. 45, l. 14 – p. 46, l. 5.
42
     Trial Tr. Vol. IV, Doc. No. 387, p. 45, l. 14 – p. 46, l. 5.
43
     Trial Tr. Vol. IV, Doc. No. 387, p. 46, ll. 6 – 16.
44
     Trial Tr. Vol. IV, Doc. No. 387, p. 46, ll. 6 – 16.
45
     Trial Tr. Vol. IV, Doc. No. 387, p. 46, ll. 6 – 16.
46
     Trial Tr. Vol. IV, Doc. No. 387, p. 46, l. 22 – p. 47, l. 3.
47
     Trial Tr. Vol. IV, Doc. No. 387, p. 47, ll. 4 – 10.
48
     Trial Tr. Vol. IV, Doc. No. 387, p. 47, ll. 4 – 10.


                                                        9
             Case 8:19-bk-07720-MGW              Doc 505       Filed 09/29/21   Page 10 of 32




indicated to Bonnie Saylor, the Debtor’s CEO, that they were pleased with Hospice

House’s performance. 49

           H.      The Debtor decides to sell its hospice operations.

           In January 2016, the Debtor decided to sell its hospice operations. 50 The

Debtor spoke with nine potential hospice operators before ultimately settling on

Vitas Healthcare Corporation, which had hospice operations in thirty-two counties,

as the potential buyer. 51 In January 2017, the Debtor and Vitas entered into a

confidentiality and non-disclosure agreement for sale of the Debtor’s hospice

operations. 52

           By May 2018, Vitas had begun its due diligence. 53 During the due diligence

period, the Debtor gave Vitas full access to its operations. 54 Vitas, including its Chief

Compliance Officer, was on site at the facility; it received a tour of Hospice House by

Ms. Saylor; and it requested, received, and reviewed documents from the Debtor,




49
     Trial Tr. Vol. IV, Doc. No. 387, p. 47, l. 22 – p. 48, l. 1.
50
     Trial Tr. Vol. IV, Doc. No. 387, p. 17, l. 22 – p. 21, l. 10.
51
  Trial Tr. Vol. IV, Doc. No. 387, p. 25, l. 11 – p. 27, l. 17; Trial Tr. Vol. III, Doc. No. 386, p. 89, ll.
17 – 19; Debtor’s Ex. 133, Doc. No. 330-1.
52
     Trial Tr. Vol. IV, Doc. No. 387, p. 25, l. 11 – p. 27, l. 5.
53
     Debtor’s Ex. 119, Doc. No. 339-8; Trial Tr. Vol. IV, Doc. No. 387, p. 29, ll. 4 – 12.
54
     Trial Tr. Vol. IV, Doc. No. 387, p. 29, ll. 4 – 12.


                                                       10
             Case 8:19-bk-07720-MGW                Doc 505      Filed 09/29/21        Page 11 of 32




including maintenance records for the generator and site surveys from AHCA

visits. 55 Vitas continued its due diligence through September 2018. 56

           I.      The Debtor contracts to sell its hospice operations (including
                   Hospice House) to Vitas.

           In July 2018, Vitas retained Stephen Ecencia, an attorney board certified in

state and federal administrative practice, to negotiate an asset purchase agreement

with the Debtor for the acquisition of Hospice House. 57 Mr. Ecencia, coincidentally

(or maybe not), previously represented AHCA in licensure proceedings against the

Rehabilitation Center at Hollywood Hills. 58 A month into the negotiations, Mr.

Ecencia began working on an escrow agreement as part of the asset purchase

agreement. 59

           On September 5, 2018, the Debtor entered into an Asset Purchase Agreement

for the sale of its hospice operations to Vitas for $11 million. 60 The assets sold under

the Asset Purchase Agreement included the Hospice House in-patient facility. 61 The




55
  Trial Tr Vol. III, Doc. No. 386, p. 79, l. 16 – p. 85, l. 11; Trial Tr. Vol. IV, Doc. No. 387, p. 32, l.
3 – p. 33, l. 4.
56
     Trial Tr. Vol. IV, Doc. No. 387, p. 30, ll. 19 – 24.
57
     Trial Tr. Vol. I, Doc. No. 397, p. 62, l. 21 – p. 64, l. 10; p. 66, l. 17 – p. 67, l. 20.
58
     Trial Tr. Vol. I, Doc. No. 397, p. 63, l. 22 – p. 64, l. 6.
59
     Trial Tr. Vol. I, Doc. No. 397, p. 69, ll. 2 – 13.
60
     Debtor’s Ex. 1, Doc. No. 320-1, §§ 2.1 & 2.4.
61
     Debtor’s Ex. 1, Doc. No. 320-1, § 2.1.1, Schedule 2.1.1.


                                                          11
            Case 8:19-bk-07720-MGW              Doc 505   Filed 09/29/21     Page 12 of 32




Asset Purchase Agreement was accompanied by a Real Estate Purchase Agreement,

which set forth the terms of the sale of Hospice House. 62

          J.      The Debtor represents and warrants its hospice operations
                  comply with state and federal law.

          As part of the Asset Purchase Agreement, the Debtor made various

representations and warranties. 63 Among other things, the Debtor represented and

warranted that (1) its real property was structurally sound, free of material defects,

and in good operating condition and repair; 64 (2) the real property was adequate for

the use to which it was being put; 65 (3) the real property would be sufficient for

continued use after the sale closed; 66 (4) the Debtor was not in violation of any

governmental approvals, licenses, or permits; 67 and (5) the Debtor was not in

violation of any federal, state, or local law, regulation, license, or permit governing

the Hospice House. 68


62
     Debtor’s Ex. 2, Doc. No. 320-2.
63
     Debtor’s Ex. 1, Doc. No. 320-1, Art. 3.
64
     Debtor’s Ex. 1, Doc. No. 320-1, § 3.5.2.
65
     Debtor’s Ex. 1, Doc. No. 320-1, § 3.5.2.
66
     Debtor’s Ex. 1, Doc. No. 320-1, § 3.5.2.
67
     Debtor’s Ex. 1, Doc. No. 320-1, § 3.11.4(b).
68
  Debtor’s Ex. 1, Doc. No. 320-1, § 3.11.1. Section 3.11.1 of the Asset Purchase Agreement
specifically provides that the Debtor “is in compliance with each Legal Requirement that is
applicable to it or to the conduct or operation of its business or the ownership or use of any of its
Assets.” Id. “Legal Requirement,” a defined term under the Asset Purchase Agreement, means “any
federal, state, local, municipal, foreign, international, multinational, or other administrative order,
constitution, law, ordinance, court order, consent decree, regulation, license, permit, statute, or
treaty.” Id. at Art. 1.


                                                    12
            Case 8:19-bk-07720-MGW               Doc 505   Filed 09/29/21       Page 13 of 32




          If the Debtor breached any of those representations and warranties, it agreed

to indemnify Vitas for any losses or damages arising from the breach of the

representations and warranties. 69 To secure its indemnification obligations, the

Debtor agreed to escrow $1.3 million of the purchase price. 70

          Section 12.5 of the Asset Purchase Agreement created a process for making

claims against the escrowed funds.71 Under section 12.5, Vitas was required to notify

the Debtor in writing if it had suffered any damages resulting from a breach of the

representations and warranties. 72 If the Debtor timely objected, then the escrow agent

would be required to hold the disputed amount in escrow until the claim was

resolved. 73

          K.      Before the sale closed, Vitas raised an issue with the generator.

          About a week before closing, an issue came up regarding Hospice House’s

generator. 74 Louis Tamburro, Vitas’ Vice President of Development, was concerned

that Hospice House’s 80kW generator did not satisfy the regulations promulgated in




69
     Debtor’s Ex. 1, Doc. No. 320-1, § 12.2.1.
70
     Debtor’s Ex. 1, Doc. No. 320-1, § 12.5.1.
71
     Debtor’s Ex. 1, Doc. No. 320-1, § 12.5.1.
72
     Debtor’s Ex. 1, Doc. No. 320-1, § 12.5.1.
73
     Debtor’s Ex. 1, Doc. No. 320-1, § 12.5.1.
74
   Trial Tr. Vol. III, Doc. No. 386, p. 108, l. 25 – p. 111, l. 11; Trial Tr. Vol. IV, Doc. No. 387, p. 56,
ll. 2 – 4.


                                                     13
             Case 8:19-bk-07720-MGW              Doc 505       Filed 09/29/21     Page 14 of 32




the aftermath of the Hollywood Hills incident. 75 Mr. Tamburro believed those

regulations applied not only to assisted living facilities and nursing homes, but

hospices, too. 76 So Mr. Tamburro asked Ms. Saylor if the 80kW generator could run

Hospice House’s HVAC system. 77

           Ms. Saylor didn’t know. 78 So she asked Chuck Magnani, Hospice House’s

maintenance manager. 79 When Mr. Magnani said the generator did not run the

HVAC system, Ms. Saylor asked Mr. Magnani to have an engineer come out and

figure out what needed to be done so that the generator could run the HVAC

system. 80 Florida Detroit Diesel-Allison, a generator vendor, inspected the generator

and determined that adding the HVAC system to the generator would overload the

generator. 81

           Detroit Diesel recommended having an electrical engineer evaluate Hospice

House’s electrical system to determine the size of generator that would be needed to

power the HVAC system (and the remaining building load). 82 Ms. Saylor forwarded


75
     Trial Tr. Vol. III, Doc. No. 386, p. 108, l. 25 – p. 111, l. 11; Debtor’s Ex. 51, Doc. No. 326-1.
76
     Trial Tr. Vol. III, Doc. No. 386, p. 108, l. 25 – p. 111, l. 11.
77
     Trial Tr. Vol. II, Doc. No. 385, p. 176, l. 25 – p. 177, l. 17.
78
     Trial Tr. Vol. II, Doc. No. 385, p. 176, l. 21 – p. 177, l. 17.
79
   Trial Tr. Vol. II, Doc. No. 385, p. 176, l. 21 – p. 177, l. 17; Trial Tr. Vol. I, Doc. No. 397, p. 128,
ll. 10 – 16.
80
     Trial Tr. Vol. II, Doc. No. 385, p. 176, l. 21 – p. 177, l. 17.
81
     Trial Tr. Vol. I, Doc. No. 397, p. 30, l. 24 – p. 35, l. 13; Vitas’ Ex. 11, Doc. No. 332-1.
82
     Vitas’ Ex. 11, Doc. No. 332-1.


                                                       14
             Case 8:19-bk-07720-MGW              Doc 505       Filed 09/29/21   Page 15 of 32




Detroit Diesel’s generator evaluation to Vitas and called for an electrical engineer. 83

Michael Dobbs, Vice President of Engineering at APG Electric, determined that a

new generator was needed to run the HVAC system. 84 APG Electric estimated a

$550,000 budget for turnkey installation of a new 350kW generator, which the

Debtor forwarded to Vitas two days before closing. 85

           The same day he received APG Electric’s budget, Mr. Tamburro e-mailed

Ailsa Davies, Vitas’ Director of Real Estate, as well Vitas’ counsel, and asked

whether the Debtor would have been required to upgrade its generator “[g]iven the

recent changes in generator requirements”—a reference to the regulations adopted in

the aftermath of Hollywood Hills. 86 Vitas’ counsel advised the company that he had

not located any Florida-specific generator requirements for hospices like the ones

adopted for assisted living facilities and nursing homes. 87

           L.      For a year after the sale closed, Vitas operated with the 80kW
                   generator as its sole source of back-up power.

           Even though the generator issue had not been resolved, the sale closed on

September 26, 2018. 88 The next day, Vitas’ Internal Management Consultant advised



83
     Vitas Ex. 14, Doc. No. 347-1.
84
     Trial Tr. Vol. I, Doc. No. 397, p. 45, l. 10 – p. 48, l. 19.
85
     Debtor’s Ex. 121, Doc. No. 341-1.
86
     Trial Tr. Vol. II, Doc. No. 385, p. 71, ll. 6 – 9.
87
     Debtor’s Ex. 50, Doc. No. 325-13.
88
     Trial Tr. Vol. IV, Doc. No. 387, p. 56, ll. 2 – 4.


                                                          15
             Case 8:19-bk-07720-MGW                Doc 505         Filed 09/29/21    Page 16 of 32




Mr. Tamburro and Ms. Davies (among others) that the generator requirement

adopted in the aftermath of Hollywood Hills applied only to assisted living facilities

and nursing homes—not free-standing hospices. 89 Even so, in January 2019, Vitas

decided to replace the existing 80kW generator because it did not power the HVAC

system. 90

           Originally, the new generator was going to be 200kW. 91 But it was increased

to 350kW because Vitas also decided to add a redundant air conditioning system to

each patient room and the common areas, and Vitas wanted the new generator to

power the redundant air conditioning system, as well as the existing HVAC system. 92

The new 350kW generator was installed on June 5, 2020. 93

           Seven months earlier, a temporary generator had been brought to the facility

to supplement the existing 80kW generator. 94 But from the closing of the sale of the

Debtor’s hospice operations in September 2018 until September 2019, the sole source

of back-up power at Hospice House was the existing 80kW generator. 95




89
     Debtor’s Ex. 52, Doc. No. 326-2; Trial Tr. Vol. III, Doc. No. 386, p. 112, l. 24 – p. 113, l. 14.
90
     Trial Tr. Vol. II, Doc. No. 385, p. 42, ll. 2 – 8; p. 73, l. 7 – p. 74, l. 4.
91
     Trial Tr. Vol. II, Doc. No. 385, p. 48, l. 24 – p. 49, l. 6.
92
     Trial Tr. Vol. II, Doc. No. 385, p. 48, l. 1 – p. 49, l. 6.
93
     Trial Tr. Vol. II, Doc. No. 385, p. 122, ll. 17 – 22.
94
     Trial Tr. Vol. II, Doc. No. 385, p. 124, ll. 4 – 7.
95
  Trial Tr. Vol. I, Doc. No. 397, p. 142, ll. 23 – 25; Trial Tr. Vol. II, Doc. No. 385, p. 122, l. 17 – p.
127, l. 6; Trial Tr. Vol. III, Doc. No. 386, p. 122, ll. 9 – 13.


                                                         16
            Case 8:19-bk-07720-MGW        Doc 505     Filed 09/29/21     Page 17 of 32




          M.        Vitas makes a claim against the escrowed funds for the cost of
                    the new 350kW generator.

          On July 22, 2019, ten months after the sale closed, Vitas notified the Debtor

that it was making a $297,006 claim against the $1.3 million escrowed under the

Asset Purchase Agreement. 96 According to Vitas, the Debtor informed Vitas before

closing “that the [in-patient hospice] facility was not in compliance with a federal

law requirement regarding ‘alternate sources of energy.’” 97 Although the Debtor

estimated the cost of a new generator was $550,000, Vitas obtained a bid for

$262,492, plus $34,514 in architectural and engineering costs, though Vitas later

increased its indemnification claim to $404,296.93. 98 The Debtor objected. 99

          N.        The Debtor objects to Vitas’ proof of claim in this bankruptcy
                    case.

          On August 16, 2019, the Debtor filed for chapter 11 bankruptcy. 100 In this

bankruptcy case, Vitas filed a $510,884.42 proof of claim for the cost of the new




96
     Debtor’s Ex. 64, Doc. No. 326-8.
97
     Debtor’s Ex. 64, Doc. No. 326-8.
98
     Debtor’s Ex. 64, Doc. No. 326-8.
99
  Debtor’s Ex. 73, Doc. No. 326-12. A year later, Vitas served another Escrow Claim Notice. Vitas’
Ex. 9, Doc. No. 331-4. In the follow-up Escrow Claim Notice, Vitas raised its indemnification
demand to $404,296.93 and articulated, in more detail, the basis for its alleged indemnification
claim: the Debtor allegedly breached its representations and warranties under the Asset Purchase
Agreement, including its representation and warranty that it was in compliance with all state and
federal laws and regulations. Id.
100
      Doc. No. 1.


                                                17
            Case 8:19-bk-07720-MGW           Doc 505     Filed 09/29/21     Page 18 of 32




350kW generator. 101 The Debtor objected to Vitas’ proof of claim and demanded

turnover of the $1.3 million being held in escrow. 102 The Court must now determine

whether Vitas is entitled to be reimbursed for the cost of the new generator from the

escrowed funds.

II.       Conclusions of Law

          Whether Vitas is entitled to reimbursement for the new generator turns on one

issue: Did the Debtor breach its representation and warranty in the Asset Purchase

Agreement that it was in compliance with all federal, state, and local laws,

regulations, and ordinances governing its hospice operations? 103 Vitas contends that

at the time the Asset Purchase Agreement closed, the Debtor was in violation of 42

C.F.R. § 418.113(b)(6)(iii)(B) and Florida Administrative Rule 59A-38.018. 104

          Vitas’ argument goes like this: the Florida administrative rule governing

hospice providers—Rule 59A-38.018—required the Debtor to implement an

emergency plan that “ensure[d] preparation of hospice patients for potential or




  Claim No. 12-2, pt. 2. Vitas originally filed a claim for $1,055,270.03. Claim No. 12-1. Of that
101

amount, $405,270.33 was for the 350kW generator. Vitas claimed it had a contingent claim for the
remaining $650,000. Claim No. 12-1, pt. 2. It’s unclear what the basis of that contingent claim was.
102
      Doc. No. 316.
103
   The Debtor has argued that Vitas’ indemnification claim is barred by an “as-is” provision in the
Real Estate Purchase Agreement. Debtor’s Proposed Findings of Fact and Conclusions of Law at 13
– 17. That argument turns on whether the generator is a fixture and whether the Real Estate
Purchase Agreement is an independent document. Id. The Court need not address those issues
because it concludes that the Debtor did not breach its representations and warranties.
104
      Vitas Healthcare Corp.’s Proposed Findings of Fact and Conclusions of Law at 10 – 17.


                                                  18
             Case 8:19-bk-07720-MGW           Doc 505    Filed 09/29/21     Page 19 of 32




imminent emergencies and disasters.” 105 The federal regulation governing Medicare

hospice providers—42 C.F.R. § 418.113—required the Debtor to have an “alternate

source of energy” to maintain safe temperatures in case of an emergency. 106

According to Vitas, “there is no other source of providing temperature control in the

event of a power outage other than a generator,” 107 which is what Vitas claims the

Debtor relied on for its alternate source of energy. 108 Because the Debtor’s existing

80kW generator could not run the HVAC system, 109 Vitas reasons that the Debtor

was not in compliance with federal or state law.

           The Court disagrees. To begin with, neither state law nor federal law required

the Debtor to have a generator to maintain safe temperatures. And while the Debtor

did have a generator, the Debtor was not, as Vitas claims, relying on its generator to

maintain safe temperatures. Rather, the evidence at trial was that the Debtor’s plan

all along was to evacuate its residents in case of emergency. Not only was that a

viable plan, one that was never cited by AHCA, but the evidence at trial showed that

Vitas relied on that same emergency plan (with the 80kW generator its sole source of

back-up power) for a year after closing on the sale of Hospice House. In short, the




105
      Fla. Admin. Code R. 59A-38.018(5) – (6).
106
      42 C.F.R. § 418.113(b)(6)(iii)(B)(1).
107
      Vitas Healthcare Corp.’s Proposed Findings of Fact and Conclusions of Law at 14.
108
      Vitas Healthcare Corp.’s Proposed Findings of Fact and Conclusions of Law at 11.
109
      Vitas Healthcare Corp.’s Proposed Findings of Fact and Conclusions of Law at 10 – 11.


                                                  19
             Case 8:19-bk-07720-MGW         Doc 505     Filed 09/29/21   Page 20 of 32




evidence at trial was overwhelming that the Debtor was in compliance with all

federal and state laws, regulations, and ordinances governing Hospice House.

           A.      Neither state law nor federal law required the Debtor to have a
                   generator sufficient to maintain safe temperatures.

           Let’s start with state law. Section 400.610, Florida Statutes, requires hospices

to “[p]repare and maintain a comprehensive emergency management plan that

provides for continuing hospice services in the event of an emergency.” 110 Rule 59A-

38.018, which implements section 400.610, Florida Statutes, requires hospices to

prepare and implement a plan that provides for “[p]rocedures to ensure preparation

of hospice patients for potential or imminent emergencies and disasters.” 111 By its

plain terms, Florida administrative Rule 59A-38.018 says nothing about a generator.

           But two other administrative rules do. In the wake of the Hollywood Hills

tragedy, AHCA promulgated two administrative rules—one governing assisted living

facilities and the other governing nursing homes—that require assisted living

facilities and nursing homes to prepare an emergency plan that “address[es]

emergency power in the event of the loss of primary electrical power.” 112

           The rule governing nursing homes, which mirrors the rule for assisted living

facilities, functionally mandates a generator:

                   (1)     DETAILED NURSING HOME EMERGENCY
                           POWER PLAN. Each nursing home shall prepare a

110
      § 400.610(1)(b)(1), Fla. Stat.
111
      Fla. Admin. Code R. 59A-38.018(5) – (6).
112
      Fla. Admin. Code R. 58A-5.036; 59A-4.1265.


                                                   20
         Case 8:19-bk-07720-MGW            Doc 505     Filed 09/29/21     Page 21 of 32




                       detailed plan (“plan”), to serve as a supplement to
                       its Comprehensive Emergency Management Plan,
                       to address emergency power in the event of the loss
                       of primary electrical power in that nursing home,
                       which includes the following information:

                       (a)    The acquisition of a sufficient alternate power
                              source such as a generator(s), maintained at the
                              nursing home, to ensure that current licensees of
                              nursing homes will be equipped to ensure the
                              protection of resident health, safety, welfare, and
                              comfort for a minimum of ninety-six (96) hours in
                              the event of the loss of primary electrical power.
                              Safe indoor air temperatures in resident
                              occupied areas shall be determined by the
                              licensee to meet the clinical needs of
                              residents, but shall not exceed eighty-one (81)
                              degrees Fahrenheit. 113

Under the administrative rules promulgated in the aftermath of Hollywood Hills,

assisted living facilities and nursing homes must have a sufficient alternate source of

power—such as a generator—to maintain safe temperatures for its residents (not to

exceed eighty-one degrees Fahrenheit) for ninety-six hours.

       Although it knew how to impose a “generator mandate,” AHCA chose not to

impose one for hospices. Even after Hollywood Hills, AHCA did not mandate that

hospices have a sufficient alternate source of power such as a generator to maintain

safe temperatures (not to exceed eighty-one degrees Fahrenheit) for ninety-six hours.

In other words, Florida law did not mandate that the Debtor have a generator to

maintain safe temperatures at the Hospice House.


113
   Fla. Admin. Code R. 59A-4.1265(1)(a)(1) – (2) (emphasis added). The rule for assisted living
facilities is essentially verbatim to the one for nursing homes. Fla. Admin. Code R. 58A-5.036.


                                                21
             Case 8:19-bk-07720-MGW              Doc 505      Filed 09/29/21    Page 22 of 32




           It is true, as Vitas points out, that section 467.2.8.1 of the Florida Building

Code requires hospices to have a Level II, type 10, Class 48 generator:

                   A Type III essential electrical system shall be provided in
                   all hospice facilities as described in National Fire Protection
                   Association Life Safety Code 99, “Health Care Facilities”, and
                   incorporated by reference in Rule 69A-3.012, Florida
                   Administrative Code. The emergency power for this system
                   shall meet the requirements of a Level II, type 10, Class 48
                   generator as described in National Fire Protection Association
                   Life Safety Code 110, “Emergency Standby Power Systems”,
                   and incorporated by reference in Rule 69A-3.012, Florida
                   Administrative Code. 114

Whereas a Level I generator is the type of generator you would see in a hospital,

where a loss of power would be an immediate threat to the life or safety of, say,

patients in surgery, a “Level II” generator is less critical to the life and safety of a

patient. 115 The references to “Type 10” and “Class 48” have to do with the

maximum number of seconds it takes for the generator to kick on (ten seconds) and

the number of hours of fuel to be on hand before refueling is necessary (forty-eight

hours). But nothing in the building code requires the generator to be sufficient to

maintain safe temperatures. 116

           What about federal law? Although the text of 42 C.F.R. § 418.113 is

cumbersome, its requirements are relatively straightforward: Under 42 C.F.R. §



114
      Debtor’s Ex. 134, Doc. No. 358-1; Trial Tr. Vol. IV, Doc. No. 387, p. 107, l. 18 – p. 108, l. 19.
115
      Trial Tr. Vol. IV, Doc. No. 387, p. 107, l. 18 – p. 108, l. 19.

  In any event, the Debtor’s expert witness testified that, in his opinion, the Debtor’s 80kW
116

generator met the building code. Trial Tr. Vol. IV, Doc. No. 387, p. 109, ll. 8 – 22.


                                                       22
             Case 8:19-bk-07720-MGW           Doc 505    Filed 09/29/21    Page 23 of 32




418.113, hospices are required to “develop and implement emergency preparedness

policies and procedures” that “address . . . the provision of subsistence needs for

hospice employees and patients, whether they evacuate or shelter in place,”

including “alternate sources of energy to maintain . . . [t]emperatures to protect

patient health and safety.” 117 Does that mean hospices are required to use a generator

to maintain safe temperatures?

           In its guidelines interpreting 42 C.F.R. § 418.113, the Center for Medicare and

Medicaid Services (“CMS”), the federal agency charged with administering

Medicare, explained that “[i]t is up to each individual facility, based on its risk

assessment, to determine the most appropriate alternate energy sources to maintain

temperatures.” 118 As part of their risk assessment, all Medicare providers, including

hospices, should “consider[] the particular type of hazards most likely to occur in

their areas.” 119 Relying on that language, as well as other language in CMS’s

interpretive guidelines, Vitas argues that CMS intended for hospices to have

“broader and more stringent requirements” than hospitals when it comes to

maintaining alternate sources of energy. 120




117
      42 C.F.R. § 418.113(b)(6)(iii)(B)(1).
118
      Vitas’ Ex. 74 at 22.

  Medicare & Medicaid Programs; Emergency Preparedness Requirements for Medicare and
119

Medicaid Participating Providers and Suppliers, 81 Fed. Reg. 63860, 63861 (Apr. 28, 2020) (to be
codified at 42 C.F.R. pts. 403, 416, 418, 441, 460, 482, 483, 484, 485, 486, 491, and 494).
120
      Vitas Healthcare Corp.’s Proposed Findings of Fact and Conclusions of Law at 12.


                                                  23
         Case 8:19-bk-07720-MGW           Doc 505      Filed 09/29/21    Page 24 of 32




       For instance, in its final rule, CMS explained that, because of the terminally ill

status of hospice patients, the rules governing hospitals are appropriate for hospice

providers:

               Given the terminally ill status of hospice patients, we
               continue to believe that in an emergency situation they
               may be as or more vulnerable than their hospital
               counterparts. This could be due to the inherent severity of
               the hospice patient’s illness or to the probability that the
               hospice patient’s caregiver may not have the level of
               professional expertise, supplies, or equipment of the
               hospital-based clinician. We continue to believe that the
               hospital emergency requirement, with some reorganization
               and revision as proposed, is appropriate for all hospice
               providers. In addition, we note that existing hospice
               regulations at § 418.110(c)(1) already require inpatient
               hospice facilities to have a written disaster preparedness
               plan. Therefore, we do not agree that an exemption for
               inpatient or outpatient hospice facilities is appropriate. 121

The rules governing hospitals require hospitals to have generators.

       But, in quoting extensively from CMS’s interpretive guidelines and final rule,

Vitas leaves out the parts where CMS explains that § 418.113 does not require a

hospice to have a generator as its “alternate source of energy.” In its interpretive

guidelines, for example, CMS expressly states that for a hospice to meet the

“alternate energy source” requirement, it need not have a generator:

               Alternate sources of energy depend on the resources
               available to a facility, such as battery-operated lights, or
               heating and cooling, in order to meet the needs of a facility
               during an emergency. Facilities are not required to


  Medicare & Medicaid Programs; Emergency Preparedness Requirements for Medicare and
121

Medicaid Participating Providers and Suppliers, 81 Fed. Reg. 63860, 63901 (Apr. 28, 2020) (to be
codified at 42 C.F.R. pts. 403, 416, 418, 441, 460, 482, 483, 484, 485, 486, 491, and 494).


                                                24
            Case 8:19-bk-07720-MGW            Doc 505      Filed 09/29/21     Page 25 of 32




                  upgrade their electrical systems, but after review of their
                  risk assessment, facilities may find it prudent to make any
                  necessary adjustments to ensure that occupants health and
                  safety needs are met, and that facilities maintain safe and
                  sanitary storage areas for provisions.

                  This specific standard does not require facilities to have or install
                  generators or any other specific type of energy source. . . . 122

          In its final rule, CMS explicitly rejects the argument that, because some of the

rules governing hospitals are appropriate for hospices, a hospice is required to have a

generator:

                  We proposed that the requirements for an emergency
                  generator and onsite fuel source to power the emergency
                  generator would apply only to hospitals, CAHs [Critical
                  Access Hospitals] and LTC [Long Term Care] facilities.
                  We did not include other providers/suppliers discussed in
                  the proposed rule. 123

Given CMS’s explicit comments, both in its interpretive guidelines and its final rule,

§ 418.113 plainly does not require a hospice to have a generator as its alternate

source of energy for maintaining safe temperatures.

          B.      The Debtor had a policy for an alternate source of energy to
                  maintain safe temperatures in case of an emergency.

          Although § 418.113 does not require the Debtor to have a generator, the

Debtor still must have an alternate source of energy to maintain safe temperatures.



122
      Vitas’ Ex. 74 at 22 (emphasis added).

  Medicare & Medicaid Programs; Emergency Preparedness Requirements for Medicare and
123

Medicaid Participating Providers and Suppliers, 81 Fed. Reg. 63860, 63896 (Apr. 28, 2020) (to be
codified at 42 C.F.R. pts. 403, 416, 418, 441, 460, 482, 483, 484, 485, 486, 491, and 494) (emphasis
added).


                                                    25
             Case 8:19-bk-07720-MGW              Doc 505    Filed 09/29/21       Page 26 of 32




According to Vitas, the “Debtor’s elected alternate energy source was a

generator.” 124 Because the generator could not run Hospice House’s HVAC system,

Vitas contends “[i]t is uncontroverted that the Debtor did not have . . . an alternative

source of energy” in violation of 42 C.F.R. § 418.113. 125

           Not so. The generator was never the Debtor’s plan for maintaining safe

temperatures in case of an emergency. Ms. Saylor testified consistently that the

Debtor’s plan was to evacuate its patients.126 The plan to evacuate patients was

memorialized in its 2018 Comprehensive Emergency Management Plan, 127 which

the Debtor provided to Vitas before the sale closed. 128

           As set forth in its Comprehensive Emergency Management Plan, the Debtor

had “contracts with facilities for patient services,” and those “same agreements are

used during an emergency situation, including disasters.” 129 In fact, Ms. Saylor

testified that the Debtor had a contract with every skilled nursing facility in the

county, including one that was just a mile up the road, as well as with Citrus

Memorial Hospital, which had a hospice facility and “scatter beds” throughout the



124
      Vitas Healthcare Corp.’s Proposed Findings of Fact and Conclusions of Law at 11.
125
      Vitas Healthcare Corp.’s Proposed Findings of Fact and Conclusions of Law at 11.
126
   Trial Tr. Vol. I, Doc. No. 397, p. 167, l. 25 – p. 168, l. 3; Trial Tr. Vol. III, Doc. No. 386, p. 9, ll.
2 – 25.
127
      Debtor’s Ex. 32, Doc. No. 325-7.
128
      Trial Tr. Vol. IV, Doc. No. 387, p. 54, ll. 1 – 3.
129
      Debtor’s Ex. 32, Doc. No. 325-7, at 9.


                                                       26
             Case 8:19-bk-07720-MGW               Doc 505       Filed 09/29/21       Page 27 of 32




hospital. 130 Ms. Saylor also testified that the Debtor had contracts with several

transportation companies that were certified to transport medical patients. 131

Although the Debtor’s plan was to evacuate patients, it’s worth noting the Debtor

did have four wall air conditioning units that were hooked up to the “red

receptacles,” which were electrified by the generator, 132 and the blower system,

which was also hooked up to the generator, could blow air cooled by the window air

conditioning units throughout the facility. 133

           Vitas, however, argues that a plan to evacuate is, in essence, no plan at all

because “[a]s anyone who lives in Florida knows, evacuation is not always practical

in the event of a storm.” 134 Vitas goes on to point out all the potential problems with

trying to evacuate during a storm—problems Vitas claims the Debtor ignores: roads

flood; power lines come down; and patient beds fill up, especially in this day and age

of COVID-19. Vitas’ argument that an evacuation plan is no plan at all is not

persuasive for several reasons.

           For starters, the Debtor did not ignore the potential problems with evacuating

patients. Ms. Saylor testified that Lecanto, Florida, where Hospice House is located,



130
    Trial Tr. Vol. II, Doc. No. 385, p. 167, l. 25 – p. 170, l. 4; Trial Tr. Vol. III, Doc. No. 386, p. 12,
l. 22 – p. 13, l. 13.
131
      Trial Tr. Vol. II, Doc. No. 385, p. 170, ll. 5 – 19.
132
      Trial Tr. Vol. I, Doc. No. 397, p. 126, l. 21 – p. 128, l. 7; p. 132, l. 19 – p. 134, l. 7.
133
      Trial Tr. Vol. I, Doc. No. 397, p. 129, l. 14 – p. 130, l. 14; p. 146, ll. 8 – p. 147, l. 11.
134
      Vitas Healthcare Corp.’s Proposed Findings of Fact and Conclusions of Law at 14.


                                                         27
             Case 8:19-bk-07720-MGW              Doc 505       Filed 09/29/21   Page 28 of 32




sits in the center of Citrus County, where flooding is not an issue because the area is

“pretty high.” 135 To be sure, power lines do come down during hurricanes. But the

Debtor wouldn’t be relocating patients during the hurricane. As Ms. Saylor pointed

out during her testimony, the Debtor would know the possible hurricane path five

(and sometimes ten) days in advance. 136 So the Debtor would begin making

preparations and start relocating patients before the hurricane even got close. 137 And

given that Hospice House’s census was relatively low (on average, five patients on

any given day), and it had contracts with every skilled nursing facility in the county,

as well as with Citrus Memorial Hospital, the availability of hospital beds does not

appear to have been an impediment to evacuating residents. All things considered,

the Debtor’s Comprehensive Emergency Management Plan appears reasonable.

           In fact, at trial, the Debtor called Jeffrey N. Gregg as an expert witness to

opine regarding the Debtor’s risk assessment in relying on evacuation as its

emergency plan. For the last six years, Mr. Gregg has provided consulting services to

hospices (and other healthcare providers) regarding regulatory and compliance

issues. 138 Before that, Mr. Gregg worked for AHCA during the first twenty-two years




135
   Trial Tr. Vol. II, Doc. No. 385, p. 171, ll. 6 – 11. Ms. Saylor’s testimony is consistent with a site
survey that was performed before Hospice House was sold to Vitas. Debtor’s Ex. 87, Doc. No. 336-
5. According to the site survey, Hospice House sat 60 to 80 feet above sea level. Id. at § 4.3.1.
136
      Trial Tr. Vol. II, Doc. No. 385, p. 171, l. 14 – p. 172, l. 5.
137
      Trial Tr. Vol. II, Doc. No. 385, p. 171, l. 14 – p. 172, l. 5.
138
      Trial Tr. Vol. IV, Doc. No. 387, p. 80, l. 6 – p. 82, l. 10.


                                                        28
             Case 8:19-bk-07720-MGW              Doc 505      Filed 09/29/21   Page 29 of 32




of the agency’s existence. 139 His last role with AHCA was as AHCA’s Chief of

Health Facility Regulation for eleven years. 140 In that role, he oversaw the regulation

of twenty-five of the thirty-five types of healthcare providers that AHCA regulated,

including hospices. 141 Because many of the providers that Mr. Gregg oversaw were

regulated by the federal government too, he had to be familiar with federal, as well as

state, regulations. 142

           During his time with AHCA, Mr. Gregg was involved with emergency

management protocols, including as one of the architects of the Comprehensive

Emergency Management Plan regulations governing hospices. 143 It’s hard to imagine

a more qualified expert than Mr. Gregg. Given Hospice House’s relatively low

average daily census, coupled with the fact that it was not thriving, Mr. Gregg

opined the Debtor’s risk assessment in relying on evacuation was reasonable and

complied with AHCA’s regulations. 144

           What’s more, as much as Vitas claims the plan is unworkable, the plan has, in

fact, worked. Twice. When Hospice House was threatened by Hurricane Hermine in




139
      Trial Tr. Vol. IV, Doc. No. 387, p. 82, ll. 16 – 19.
140
      Trial Tr. Vol. IV, Doc. No. 387, p. 83, ll. 7 – 17.
141
      Trial Tr. Vol. IV, Doc. No. 387, p. 83, ll. 7 – 11.
142
      Trial Tr. Vol. IV, Doc. No. 387, p. 83, ll. 7 – 11.
143
      Trial Tr. Vol. IV, Doc. No. 387, p. 83, ll. 7 – 11.
144
      Trial Tr. Vol. IV, Doc. No. 387, p. 103, l. 13 – p. 107, l. 9.


                                                       29
             Case 8:19-bk-07720-MGW              Doc 505       Filed 09/29/21   Page 30 of 32




2016, the Debtor was safely able to evacuate its patients. 145 A year later, when

Hospice House was threatened by Hurricane Irma, the Debtor relocated patients to a

skilled facility and took on four patients who were forced to evacuate from their

homes. 146 When the power went out during Hurricane Irma, the 80kW generator

powered the wall air conditioning units in the four rooms where the patients were

located, and the Debtor used the blower, as well as a few floor fans, to circulate the

cool air from the wall air conditioning units throughout the facility. 147 After a post-

storm inspection, which involved speaking with patients, families, volunteers, and

staff, AHCA indicated to the Debtor that it was pleased with Hospice House’s

performance. 148

           Not only has the Debtor’s plan worked, but Vitas adopted the very plan it now

complains is unworkable. For a year after the sale closed, Vitas operated with the

80kW generator as the only source of back-up power at the facility. 149 And Vitas’

Comprehensive Emergency Management Plan dated November 20, 2018—just one




145
    Trial Tr. Vol. IV, Doc. No. 387, p. 43, ll. 10 – p. 44, l. 15; Trial Tr. Vol. IV, Doc. No. 387, p. 48,
ll. 2 – 5.
146
      Trial Tr. Vol. IV, Doc. No. 387, p. 45, l. 14 – p. 46, l. 5.
147
      Trial Tr. Vol. IV, Doc. No. 387, p. 46, ll. 6 – 16.
148
      Trial Tr. Vol. IV, Doc. No. 387, p. 47, l. 22 – p. 48, l. 1.

  Trial Tr. Vol. I, Doc. No. 397, p. 142, ll. 23 – 25; Trial Tr. Vol. II, Doc. No. 385, p. 122, l. 17 – p.
149

127, l. 6; Trial Tr. Vol. III, Doc. No. 386, p. 122, ll. 9 – 13.


                                                       30
             Case 8:19-bk-07720-MGW               Doc 505       Filed 09/29/21   Page 31 of 32




month after the sale closed—does not mention a generator but does mention

evacuation of patients in the event of an emergency. 150

           That plan complied with AHCA’s requirements. AHCA never cited Vitas for

the generator. 151 Nor did AHCA ever cite Vitas for its emergency preparedness

plan. 152 Vitas can hardly complain that the Debtor’s plan was really no plan at all

when Vitas essentially adopted that plan for a year and was never cited for it.

III.       Conclusion

           At trial, Vitas’ head of real estate and facilities testified that the company

installed the more robust 350kW generator to protect its patients’ health and

safety. 153 But the issue is not whether installing the 350kW generator was a good idea

(no doubt it was). The sole issue this Court must decide is whether the Debtor was in

violation of state or federal law for not having a generator that could run its HVAC

system, in which case the Debtor would be obligated to indemnify Vitas for the

Debtor’s breach of representations and warranties in the Asset Purchase Agreement.

           The evidence was overwhelming at trial that the Debtor was not required to

have a generator that could run its HVAC system. To comply with state and federal

law, the Debtor was required to have an emergency preparedness plan that provided



150
      Trial Tr. Vol. III., Doc. No. 386, p. 94, l. 20 – p. 96, l. 2.
151
      Trial Tr. Vol. III, Doc. No. 386, p. 70, ll. 1 – 24.
152
      Trial Tr. Vol. III, Doc. No. 386, p. 70, ll. 1 – 12.
153
      Trial Tr. Vol. II, Doc. No. 385, p. 136, ll. 1 – 18.


                                                        31
        Case 8:19-bk-07720-MGW         Doc 505     Filed 09/29/21   Page 32 of 32




policies and procedures for an alternate source of energy to maintain safe

temperatures at Hospice House. The Debtor had such a plan: in case of an

emergency, the Debtor would evacuate its patients to one of the other skilled nursing

facilities in the county (or Citrus Memorial Hospital). That plan was reasonable; it

worked; and it was approved by AHCA. The Debtor therefore was not in violation

of state or federal law and, as a result, need not indemnify Vitas. The Court will,

therefore, by separate order sustain the objection to Vitas’ Claim No. 12-1 and grant

the Debtor’s motion for turnover of the escrowed funds.



Attorney Nicolette Vilmos is directed to serve a copy of these Findings of Fact and
Conclusions of Law on interested parties who do not receive service by CM/ECF
and to file a proof of service within three days of entry of the Findings of Fact and
Conclusions of Law.


Nicolette C. Vilmos, Esq.
Frank P. Terzo, Esq.
NELSON MULLINS BROAD AND CASSEL
   Counsel for Debtor

Eric A. Rosen, Esq.
Ashley N. Flynn, Esq.
FOWLER WHITE BURNETT, P.A.
   Counsel for Vitas Healthcare Corporation




                                              32
